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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF OREGON

                                     Eugene Division

ELIZABETH HUNTER, et al.,                     No. 6:21-CV-00474-AA
               Plaintiffs,
               v.
U.S. DEPARTMENT OF EDUCATION, et              DEFENDANTS-INTERVENOR CCCU’S
al.,                                          EXHIBIT LIST
               Defendants,
               v.
COUNCIL FOR CHRISTIAN COLLEGES &
UNIVERSITIES, WESTERN BAPTIST
COLLEGE d/b/a CORBAN UNIVERSITY,
WILLIAM JESSUP UNIVERSITY AND
PHOENIX SEMINARY,
               Defendants-Intervenors.
                    Case 6:21-cv-00474-AA       Document 121          Filed 10/29/21     Page 2 of 5




                                UNITED STATES DISTRICT COURT
                     FOR THE                         DISTRICT OF              OREGON-EUGENE DIVISION

                 Elizabeth Hunter, et al.                                DEFENDANT-INTERVENOR’S
                           v.                                                EXHIBIT LIST
      U.S. Department of Education, et al.                               Case Number: 6:21-CV-00474-AA
                           v.
     Council for Christian Colleges & Universities
PRESIDING JUDGE                               PLAINTIFF’S ATTORNEY                DEFENDANT’S ATTORNEY
Ann Aiken                                     Paul Carlos Southwick, et al.       Carol Federighi, et al.
                                                                                  DEFENDANT-INTERVENOR’S ATTORNEYS
                                                                                  Herbert G. Grey
                                                                                  Gene C. Schaerr, et al.
TRIAL DATE (S)                                 COURT REPORTER                     COURTROOM DEPUTY
11/4/2021 - 11/5/2021                                                             Cathy Kramer
PLF. DEF. DATE  MARKED ADMITTED
                                                                       DESCRIPTION OF EXHIBITS
NO. NO. OFFERED
                                              College Pulse. (2021, March). The LGBTQ+ student divide: The
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                Case 6:21-cv-00474-AA      Document 121         Filed 10/29/21     Page 3 of 5



  PLF. DEF. DATE  MARKED         ADMITTED                         DESCRIPTION OF EXHIBITS
  NO. NO. OFFERED

                                               Wolff, J. R., Himes, H. L., Soares, S. D., & Miller Kwon, E.
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2 - Defendant-Intervenor CCCU’s Exhibit List
                Case 6:21-cv-00474-AA      Document 121          Filed 10/29/21     Page 4 of 5



 PLF. DEF. DATE  MARKED ADMITTED
                                                                   DESCRIPTION OF EXHIBITS
 NO. NO. OFFERED

                                               Biola University, Biola University’s Theological Positions,
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                                               Expert Declaration of Shirley Hoogstra

                                               Expert Declaration of Mark Regnerus




3 - Defendant-Intervenor CCCU’s Exhibit List
        Case 6:21-cv-00474-AA        Document 121       Filed 10/29/21     Page 5 of 5




                              CERTIFICATE OF SERVICE

      I hereby certify that I served the foregoing document on all counsel of record in this case

by ECF and by email.

DATED this 29th day of October, 2021.


                                                   /s/ Gene C. Schaerr
                                                   Gene C. Schaerr
                                                   Counsel for Defendant-
                                                   Intervenor Council for Christian
                                                   Colleges & Universities




4 - Defendant-Intervenor CCCU’s Exhibit List
